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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA et al.,

Plaintiffs,

v.                                                           Case No. 1:18-cv-02340-RJL

CVS HEALTH CORPORATION

and

AETNA INC.
                            Defendants.



                      PLAINTIFF STATES’ STATEMENT OF SUPPORT AND
                            REQUEST TO ADDRESS THE COURT

        After reviewing the record in this proceeding and in consideration of the upcoming

Tunney Act hearing, the Attorneys General of the states of California, Florida, Hawaii,

Mississippi, and Washington (collectively, “Plaintiff States”) file this statement to advise the

Court of our support for the position of the United States Department of Justice (“DOJ”)

regarding our combined Proposed Final Judgment on the merger of CVS Health Corporation

(“CVS”) and Aetna Inc. (“Aetna”). Plaintiff States respectfully request the opportunity to

address the Court for ten minutes during any arguments from attorneys that the Court may allow

following the now ordered hearing.1

        As the chief law enforcers of our respective states, the Attorneys General of Plaintiff

States may exercise broad common law powers as the public interest requires. See, e.g., State of

Fla. ex rel. Shevin v. Exxon Corp., 526 F.2d 266, 268 (5th Cir. 1976) (citing D'Amico v. Board of



        1
            DOJ and CVS do not oppose Plaintiff States’ request.
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Medical Examiners, 11 Cal.3d 1 (1974) and State ex rel. Patterson v. Warren, 254 Miss. 293

(1965)). Consistent with those powers, Plaintiff States may bring parens patriae actions to

protect the general economy of our states from the harmful effects of antitrust violations. State

of Ga. v. Pennsylvania R. Co., 324 U.S. 439, 447 (1945). Accordingly, Plaintiff States have

standing to enforce federal merger law and to pursue divestiture remedies to protect competition

in markets. California v. Am. Stores Co., 495 U.S. 271, 283 (1990).

       In addition to initiating enforcement actions independently, Plaintiff States also partner

with federal enforcers to evaluate the possible anticompetitive effects of a proposed merger

during the merger review process. In joint investigations, as occurred in this case, Plaintiff

States have access to documents, produced by the merging parties, and participate in the

interviews and depositions conducted by our federal counterparts. This federal-state cooperation

advances a mutual interest in antitrust enforcement and conserves the resources of all parties and

of the Court, by combining what would otherwise be multiple investigations. Plaintiff States

bring a unique local perspective to our joint investigations with our federal counterparts when

evaluating the merger’s effects on the marketplace. Healthcare markets are of particular concern

to state attorneys general in part because many of the effects of healthcare mergers are local,

rather than national. See. e.g., United States v. Anthem, Inc., 236 F. Supp. 3d 171, 254 (D.D.C.

2017) (“There is no dispute that . . . ‘healthcare is local.’”). Additionally, the states provide and

fund healthcare for many of its citizens. See Medtronic, Inc. v. Lohr, 518 U.S. 470, 485 (1996)

(noting the “historic primacy of state regulation of matters of health and safety”); Brief of

Amicus Curiae States of California et al., St Luke’s Health Care System et al. v. Fed. Tr.

Comm’n. et al., Case No 14-35173, 2014 WL 4312205, at **5-6, 8-14 (9th Cir. Aug. 20, 2014)

(discussing the importance and challenges for states in providing affordable healthcare to all its


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residents). As a result, state antitrust enforcers play a vital role in the review of healthcare

mergers.

        Plaintiff States conducted a thorough 11-month investigation of the CVS-Aetna merger,

which involved close collaboration with DOJ and our own independent due diligence. At the

conclusion of the investigation, Plaintiff States believed, like DOJ, that the horizontal aspects of

the merger presented anticompetitive issues and that the proposed divestiture would resolve

those issues.

        Plaintiff States are independent co-Plaintiffs who joined the Proposed Final Judgment.

Not only do Plaintiff States support the approval of the Proposed Final Judgment by the Court

but once approved, have an important role in its enforcement. We have participated in each step

of the implementation of the Proposed Final Judgment in accordance with the role of Plaintiff

States set forth therein.

        After reviewing the public comments and amici briefs, and DOJ’s response, Plaintiff

States continue to believe that the divestiture in the Proposed Final Judgment provides an

effective and appropriate remedy for the antitrust violations alleged in the Complaint. Therefore,

Plaintiff States support DOJ’s position that the Proposed Final Judgment is in the public interest.

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                              CERTIFICATE OF SERVICE
Case Name:     United States of America et al.,            No.    1:18-cv-02340-RJL
               v. CVS Health Corporation and
               Aetna Inc.

I hereby certify that on May 15, 2019, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:



PLAINTIFF STATES’ STATEMENT OF SUPPORT AND REQUEST TO ADDRESS THE
COURT



I certify that parties in the case are registered CM/ECF users and that service will be
accomplished via the CM/ECF system, with the exception of Plaintiff State of Mississippi. I
served a copy of the foregoing document by mailing the document electronically to the duly
authorized legal representative of Plaintiff State of Mississippi:


Crystal Utley Secoy
Consumer Protection Division
Mississippi Attorney General’s Office
P.O. Box 22947
Jackson, Mississippi 39225
Phone: (601) 359-4213
cutle@ago.state.ms.us

I declare under penalty of perjury the foregoing is true and correct and that this declaration was
executed on May 15, 2019, at Los Angeles, California.


              Malinda Lee                                          /s/ Malinda Lee
               Declarant                                               Signature
